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                             United States District Court
                              Southern District of Iowa

United States of America                      )
                                              )
               Plaintiff,
                                              )
               vs.                            )         Case No. 3:24-cr-00009-SMR-SBJ-1

Dedrick Montez Jones                 ,        )             [Check if Federal Public Defender is
                                              )             appearing only for arraignment or
                                                            initial appearance]
                                              )
               Defendant.

                            ORDER APPOINTING COUNSEL

       The Court finds that the Defendant qualifies for appointment of counsel under the
Criminal Justice Act, 18 USC §3006A, and the Criminal Justice Act Plan for the Southern
District of Iowa. A CJA Form 23 Financial Affidavit shall be filed within five days of this Order.




       It is ORDERED that Federal Defender’s Office, or substitute counsel designated
pursuant to the CJA Plan, is appointed to represent Defendant for all proceedings, including
appeal. The Court may require Defendant to make full or partial repayment of attorney and
witness fees, should it find that the Defendant has the ability to make such payment.




Date: February 12, 2024
                                                                      Judge’s signature


                                                  Stephen B. Jackson, Jr., U.S. Magistrate Judge
                                                                    Printed name and title
